
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 96-1251

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.

                                   IRVIN R. MORRIS,
                                Defendant, Appellant.
                              _________________________

          No. 96-1252

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.

                                   STUART L. SMITH,
                                Defendant, Appellant.
                              _________________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE

                       [Hon. Gene Carter, U.S. District Judge]
                                          ___________________
                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________
                      Coffin and Bownes, Senior Circuit Judges.
                                         _____________________
                              _________________________

               William Maselli for appellant Morris.
               _______________
               Theodore A. Barone, with  whom William F. Sullivan, Sullivan
               __________________             ___________________  ________
          and  Largey,  and  Perkins, Smith  &amp;  Cohen  were  on brief,  for
          ___________        ________________________
          appellant Smith.
               F. Mark Terison, Assistant United States Attorney, with whom
               _______________
          Jay P. McCloskey, United States  Attorney, and Jonathan A.  Toof,
          ________________                               _________________
          Assistant United States Attorney, were on brief, for appellee.

                              _________________________

                                   November 6, 1996

                              _________________________
















                    SELYA,  Circuit Judge.    These  interlocutory  appeals
                    SELYA,  Circuit Judge.
                            _____________

          question whether the acquittal of  appellants Irvin R. Morris and

          Stuart L. Smith on charges of conspiracy to  distribute marijuana

          bars  the  government from  now  prosecuting them  on  charges of

          conspiracy  to defraud the  Internal Revenue Service  (IRS).  The

          district  court   answered  this   question   in  the   negative.

          Concluding, as we do, that neither double jeopardy nor collateral

          estoppel  principles preclude  continued prosecution  of the  tax

          conspiracy charge, we affirm.

                                          I.
                                          I.
                                          __

                                      Background
                                      Background
                                      __________

                    In 1994,  a federal  grand jury returned  a three-count

          indictment against  the  appellants  and  seven  other  persons.1

          Count  1 charged the  appellants (and others)  with conspiracy to

          distribute and to possess with intent to distribute marijuana, in

          violation of 21 U.S.C.    841(a)(1) &amp; 846 (1994).  Count 2 sought

          criminal forfeiture  of  property used  in  or derived  from  the

          marijuana  conspiracy.   See 21  U.S.C.    853  (1994).   Count 3
                                   ___

          charged the  appellants (and  others) with conspiracy  to defraud

          the IRS in the  determination and collection of income  taxes, in

          violation of 18 U.S.C.   371 (1994).

                    The  district court  severed count  3 and  proceeded to

          trial on  the other  counts.  The  jury returned  a "not  guilty"

          verdict  on  count 1,  putting an  end  to that  charge  and also
                              
          ____________________

               1Because  these appeals  do  not involve  any  of the  seven
          codefendants,  we   minimize  further  references   to  them   in
          describing the indictment and ensuing trial.

                                          2














          eviscerating count 2.  The appellants then moved to dismiss count

          3  on  double jeopardy  and  collateral  estoppel grounds.    The

          district court  denied the motions.   These interlocutory appeals

          ensued.   See Abney v.  United States, 431  U.S. 651, 662  (1977)
                    ___ _____     _____________

          (holding that  pretrial orders rejecting  double jeopardy  claims

          premised on successive prosecutions are immediately appealable).2

          Inasmuch   as  the   appeals  challenge   the   district  court's

          application of the law rather than its factfinding, our review is

          plenary.

                                         II.
                                         II.
                                         ___

                                   Double Jeopardy
                                   Double Jeopardy
                                   _______________

                    The  Double Jeopardy  Clause  provides that  no  person

          shall  "be  subject  for the  same  offence  to be  twice  put in

          jeopardy of  life or limb .  . . ."   U.S. Const. amend.  V.  The

          Clause has three aspects:   it shields a defendant  from a second

          prosecution  for  the same  offense  after  either conviction  or

          acquittal,  and it  also prohibits  multiple punishments  for the

          same  offense.   See United States  v. Stoller, 78  F.3d 710, 714
                           ___ _____________     _______
                              
          ____________________

               2Abney  involved multiple  prosecutions.   431 U.S.  at 662.
                _____
          Cases   that  implicate   multiple  punishments   arguably  raise
          different  jurisdictional  concerns for  appellate  courts.   See
                                                                        ___
          United  States v.  Ramirez-Burgos,  44 F.3d  17, 18-19  (1st Cir.
          ______________     ______________
          1995)  (dismissing  for  want  of  jurisdiction an  interlocutory
          appeal  stemming from  the  rejection of  a multiple  punishments
          claim asserted in connection with  parallel counts contained in a
          single  indictment); see also  United States v.  Stoller, 78 F.3d
                               ___ ____  _____________     _______
          710, 715  &amp; n.2 (1st Cir. 1996) (indicating uncertainty as to the
          continued vitality of Ramirez-Burgos in light of emergent Supreme
                                ______________
          Court precedent), petition for cert. filed, 64 U.S.L.W. 3823 (May
                            ________________________
          29,  1996)  (No. 95-1936).    Because these  appeals,  like Abney
                                                                      _____
          itself, involve  the successive prosecution branch  of the Double
          Jeopardy  Clause, we have jurisdiction to hear and determine them
          prior to trial.

                                          3














          (1st  Cir. 1996), petition for cert. filed, 64 U.S.L.W. 3823 (May
                            ________________________

          29, 1996) (No. 95-1936); United States v. Caraballo-Cruz, 52 F.3d
                                   _____________    ______________

          390,  391 (1st Cir. 1995); United  States v. Rivera-Martinez, 931
                                     ______________    _______________

          F.2d  148, 152  (1st Cir.),  cert. denied,  502 U.S.  862 (1991).
                                       _____ ______

          Here,  the  appellants  invoke  the  Clause's  protection against

          successive prosecutions.   The resolution of their claim turns on

          whether the tax conspiracy  is the same offense as  the marijuana

          conspiracy for double jeopardy purposes.

                    The Supreme Court has  authored a black-letter rule for

          use  in  determining  when  double jeopardy  principles  prohibit

          prosecution under two distinct  statutory provisions:  "where the

          same  act  or  transaction  constitutes  a  violation  of  [both]

          statutory provisions, the test to be applied to determine whether

          there are two  offenses or  only one, is  whether each  provision

          requires  proof of a fact which the other does not."  Blockburger
                                                                ___________

          v.  United States,  284  U.S. 299,  304 (1932).    If the  crimes
              _____________

          charged  are  discrete  offenses  within   the  contemplation  of

          Blockburger,  the defendant may  be prosecuted  consecutively for
          ___________

          them, even if the crimes arise out of the same conduct or nucleus

          of operative  facts.   See United  States v.  Parrilla-Tirado, 22
                                 ___ ______________     _______________

          F.3d  368, 372  (1st  Cir. 1994).    Thus, the  Blockburger  rule
                                                          ___________

          depends on statutory analysis, not on evidentiary comparisons.

                    Having carefully  examined the record, we  conclude, as

          did  the court below, that  the tax conspiracy  and the marijuana

          conspiracy  are   separate  offenses.    To   establish  the  tax

          conspiracy,  the  government  must  prove  that  the   conspiracy


                                          4














          existed,  that the  defendants agreed to  participate in  it, and

          that at least one overt act was perpetrated in furtherance of the

          goal  of  defrauding the  United States.    See United  States v.
                                                      ___ ______________

          Cambara,  902 F.2d 144, 146-47 (1st Cir. 1990).  To establish the
          _______

          marijuana  conspiracy,  the  government  had to  prove  that  the

          conspiracy existed, that the  defendants agreed to participate in

          it, and that they  intended to possess and  distribute marijuana.

          See  United States  v. Sepulveda,  15 F.3d  1161, 1173  (1st Cir.
          ___  _____________     _________

          1993), cert.  denied, 114 S. Ct. 2714  (1994).  Thus, the primary
                 _____  ______

          objects  of the two conspiracies  are different, and  each of the

          charged crimes includes an element that the other does not.

                    These  differences  are  brought  home  by  parsing the

          indictment  in this case.  In respect  to count 3, the government

          needs to prove at trial that the appellants specifically intended

          to defraud the IRS and that they undertook at least one overt act

          in furtherance of that  conspiracy   proof that is  extraneous to

          establishing  the marijuana conspiracy.   In respect  to count 1,

          however,  the  government  needed  to prove  at  trial  that  the

          appellants  intended  to distribute  marijuana     proof that  is

          extraneous to  establishing the tax  conspiracy.  On  this basis,

          the two charges constitute  distinct offenses under  Blockburger.
                                                               ___________

          See, e.g.,  United States  v. Gomez-Pabon,  911 F.2d 847,  861-62
          ___  ____   _____________     ___________

          (1st  Cir. 1990) (holding that a conspiracy to import cocaine and

          a  conspiracy to  possess cocaine  with intent to  distribute are

          distinct offenses because  they differ "in  what they specify  as

          the proscribed object of the conspiracy"), cert. denied, 498 U.S.
                                                     _____ ______


                                          5














          1074 (1991); United States  v. Rodriguez, 858 F.2d 809,  817 (1st
                       _____________     _________

          Cir.  1988) (holding  that conspiracy  to distribute  cocaine and

          aiding  and abetting  the  possession of  cocaine with  intent to

          distribute are  distinct offenses  and may be  charged separately

          even  if  both arise  out of  the  same transaction  because each

          requires proof  of an element  that the other does  not).  Hence,

          trying  the appellants  on count  3 will  not violate  the Double

          Jeopardy Clause.

                    The  appellants  decry  this  analysis  as  excessively

          technical.   They hawk  three separate, but  related, rejoinders:

          (1) that the government will introduce at a future trial much the

          same  evidence  which it  used in  the  previous trial;  (2) that

          despite  the  proliferation  of  counts the  government  in  fact

          alleged  only  a  single  conspiracy  involving  distribution  of

          marijuana and  concealment of the profits  derived therefrom; and
                    ___

          (3)  that the district court misapplied this court's gloss on the

          test for determining when two separately charged conspiracies are

          deemed  synonymous   for   double  jeopardy   purposes.     These

          asseverations lack force.

                    1.    Same  Evidence.   The  Supreme  Court  has  never
                    1.    Same  Evidence.
                          ______________

          endorsed a blanket rule prohibiting the government from using the

          same evidence to  prove two different  offenses against a  single

          defendant.    To  be sure,  at  the  high-water  mark for  double

          jeopardy protection  the Court  briefly adopted a  "same conduct"

          test.   See Grady v. Corbin,  495 U.S. 508, 521  (1990).  But the
                  ___ _____    ______

          Court laid waste  to Grady  in fairly short  order and  confirmed
                               _____


                                          6














          that  the performance  of  a Blockburger  analysis completes  the
                                       ___________

          judicial  task in  a  successive prosecution  case.   See  United
                                                                ___  ______

          States v.  Dixon, 509 U.S.  688, 712  (1993) (overruling  Grady).
          ______     _____                                          _____

          Consequently, the appellants' "same evidence" argument fails.

                    2.   Singularity  of the  Conspiracy.   The appellants'
                    2.   Singularity  of the  Conspiracy.
                         _______________________________

          assertion  that  the  government  alleged  only  one  overarching

          conspiracy  is  no more  than  a  play on  words.    Even if  the

          transactions  on which  the charges  rest  are intertwined    the

          "best  case" assumption for the appellants, and a matter on which

          we need not opine   this  datum would not alter the outcome of  a

          Blockburger  inquiry.    "It  is   well  settled  that  a  single
          ___________

          transaction  can give  rise to  distinct offenses  under separate

          statutes without violating the  Double Jeopardy Clause," and this

          tenet  "is  true  even  though  the  `single transaction'  is  an

          agreement or  conspiracy."  Albernaz  v. United States,  450 U.S.
                                      ________     _____________

          333, 344 n.3 (1981).

                    Whether a particular course  of conduct involves one or

          more distinct  offenses depends on congressional  choice, and the

          Double Jeopardy  Clause offers little limitation  on that choice.

          See Sanabria  v. United States, 437 U.S.  54, 69-70 (1978).  This
          ___ ________     _____________

          principle readily  disposes of the  appellants' argument.   As we

          already  have shown, Congress defined  the tax conspiracy and the

          marijuana conspiracy such that each requires proof of a fact that

          the other does not.

                    3.   Segregating Distinct  Conspiracies.   Finally, the
                    3.   Segregating Distinct  Conspiracies.
                         __________________________________

          appellants  urge  us   to  find  that  they  are   shielded  from


                                          7














          prosecution  for the  tax conspiracy  because of  the imbrication

          between  it  and  the  marijuana conspiracy.    In  framing  this

          exhortation the  appellants pin their  hopes on United  States v.
                                                          ______________

          Booth, 673  F.2d 27, 29  (1st Cir.), cert.  denied, 456 U.S.  978
          _____                                _____  ______

          (1982),  in which  we set  out a  five-part test  for determining

          whether two  conspiracies  are  synonymous  for  double  jeopardy

          purposes.  Here, four-fifths of the test falls neatly into place:

          it is  undisputed that  the tax and  marijuana conspiracies  took

          place  contemporaneously  (or  nearly  so);  that  they  involved

          essentially the same  personnel; that they  occurred at much  the

          same  places; and that most  of the evidence  that the government

          introduced in its failed effort to prove the marijuana conspiracy

          will  be  offered anew  in a  future  endeavor to  prove  the tax

          conspiracy.     Nevertheless,  there  is  a   missing  link;  the

          appellants cannot pass the fifth part of the test because the two

          conspiracies are premised on separate statutory provisions.

                    This divagation is fatal to the appellants' contention.

          The rationale  underlying Booth stems  from a recognition  of the
                                    _____

          danger  that, in  conspiracy cases,  the government  might comply

          with  the  letter of  Blockburger  while  evading its  spirit  by
                                ___________

          partitioning a single conspiracy into separate prosecutions.  See
                                                                        ___

          id.    The Booth  test is  thus  aimed at  limiting prosecutorial
          ___        _____

          abuse,  not  at  circumscribing  congressional  power  to  define

          multiple offenses that occur  during a single course of  conduct.

          Because  separate statutory  provisions are  involved in  the two

          conspiracies  limned in  this case,  a subsequent  prosecution on


                                          8














          count 3 will  not offend the Double Jeopardy  Clause.  See Gomez-
                                                                 ___ ______

          Pabon, 911 F.2d at 861-62.
          _____

                                         III.
                                         III.
                                         ____

                                 Collateral Estoppel
                                 Collateral Estoppel
                                 ___________________

                    It  is settled  beyond cavil  that the  Double Jeopardy

          Clause encompasses the doctrine of collateral estoppel.  See Ashe
                                                                   ___ ____

          v. Swenson, 397 U.S.  436, 444-45 (1970); United States  v. Dray,
             _______                                _____________     ____

          901  F.2d 1132,  1135  (1st Cir.),  cert.  denied, 498  U.S.  895
                                              _____  ______

          (1990).   This doctrine ensures  that "when an  issue of ultimate

          fact has once been determined by a valid and final judgment, that

          issue cannot again be  litigated between the same parties  in any

          future lawsuit."  Ashe, 397 U.S. at  443.  In a criminal case,  a
                            ____

          defendant  who wishes to wield  this doctrinal weapon against the

          government  bears the burden  of demonstrating that  the issue he

          seeks to foreclose was  in fact settled by the  first proceeding.

          See Dowling v. United States, 493 U.S. 342, 350-51 (1990).
          ___ _______    _____________

                    The  appellants thus face a formidable task:  they must

          show  that the first trial necessarily decided that they were not
                                     ___________

          involved in the  tax conspiracy.  See Schiro v.  Farley, 510 U.S.
                                            ___ ______     ______

          222, 236 (1994).  Of course, we must interpret this  statement of

          the appellants' task in a practical manner:  a criminal defendant

          who  raises a potential collateral  estoppel bar should  not be  

          and is not   held to a standard of absolute certainty.  A court's

          approach must be pragmatic in order to prevent the rejection of a

          collateral  estoppel  defense in  every case  in which  the prior

          judgment  was based on a general verdict of acquittal.  See Ashe,
                                                                  ___ ____


                                          9














          397 U.S. at  444 (warning against  courts being too  "technically

          restrictive").   If all proffered  explanations for why  a jury's

          verdict  does  not  decide  an  issue  are  frankly  implausible,

          collateral  estoppel ought to bar relitigation of the issue.  See
                                                                        ___

          Dray, 901 F.2d at 1137.
          ____

                    It is against this  legal backdrop that we inspect  the

          particulars  of  the  case at  bar.    To  determine whether  the

          appellants  can clear  the  collateral estoppel  hurdle, we  must

          undertake whole-record review.  See, e.g., Rossetti v. Curran, 80
                                          ___  ____  ________    ______

          F.3d 1, 4  (1st Cir. 1996).  After all, collateral estoppel cases

          necessarily  "require  an examination  of  the  entire record  to

          determine whether the jury could have `grounded its  verdict upon

          an issue other than  that which the defendant seeks  to foreclose

          from consideration.'"  Schiro, 510 U.S. at 236 (quoting Ashe).
                                 ______                           ____

                    The appellants  argue vehemently  that the jury  at the

          first trial must have  determined that they were not  involved in

          the conspiracy described  in count  1   a  conspiracy which  they

          visualize as  encompassing  three facets:   obtaining  marijuana,

          distributing it, and hiding the proceeds from the government.  We

          think  that this  characterization misstates the  conspiracy that

          the government alleged.  We explain briefly.

                    Our explanation starts with an acknowledgement that the

          premise  implicit in the appellants' argument is sound.  Under an

          indictment  alleging that  a  defendant's role  in the  marijuana

          conspiracy  was   to   conceal  the   proceeds,  that   defendant

          potentially could be found guilty of conspiracy to distribute and


                                          10














          possess with intent  to distribute marijuana  even though he  did

          not personally deal drugs.  See generally United States v. David,
                                      ___ _________ _____________    _____

          940 F.2d 722, 735 (1st Cir.) (noting that, in a chain conspiracy,

          the  law holds a conspirator "accountable for the earlier acts of

          his  coconspirators in  furtherance  of the  conspiracy"),  cert.
                                                                      _____

          denied,  502 U.S. 989 (1991);  United States v.  Baines, 812 F.2d
          ______                         _____________     ______

          41, 42 (1st Cir. 1987) (similar).  But count 1  of the indictment

          in this case is too  narrowly drawn to animate that premise    it

          alleged in effect that Smith and Morris were directly involved in
                                                       ________

          marijuana distribution   and the trial judge instructed the  jury

          that the government  must prove "the conspiracy  described in the

          indictment."  Thus, the jury would have been bound under count  1

          and  the district court's elucidation of it to acquit a defendant

          whose  only involvement was to launder the funds generated by the

          principals' operation of the marijuana conspiracy.

                    Equally as  important, count  1 of the  indictment sets

          out a  conspiracy  to  distribute  and  possess  with  intent  to

          distribute  marijuana, not a conspiracy  to defraud the  IRS.  In

          it,  the   government  avers  that   the  appellants  "consigned,

          entrusted,  and  distributed marijuana,"  but  the count  nowhere

          attempts to describe how  the conspirators concealed the proceeds

          of  the marijuana distribution from  prying eyes.3   This lack of
                              
          ____________________

               3The closest count  1 comes to  stating that the  appellants
          conspired  to defraud  the IRS  is its  averment that  they "used
          cash,  bank checks, and money orders to further the objectives of
          the  conspiracy,  to  wit,  the  acquisition,  receipt,  storage,
          consignment  and  distribution  of large  amounts  of  marijuana,
          thereby deriving substantial cash proceeds."  But this allegation
          falls  far short  of  specifying whether  (and  if so,  how)  the

                                          11














          connectedness  is critical,  for,  as we  mentioned earlier,  the

          district court  instructed the  jury that  the government  had to

          prove beyond a reasonable doubt "that the conspiracy described in

          [count  1] was willfully formed  and was existing  at on or about

          the  time alleged in the indictment."  Hence, the jury's decision

          that the appellants were  not guilty of the conduct  described in

          count 1 does  not rule  out the possibility  that the  appellants

          nonetheless may have conspired  to defraud the IRS as  alleged in

          count 3.4   Because the record as  a whole (i.e., the indictment,

          the   evidence,  the   arguments   of  counsel,   and  the   jury

          instructions)  reveals  more than  one  plausible  basis for  the

                              
          ____________________

          appellants  conspired to  launder drug  proceeds and  deprive the
          government of tax revenue.

               4This point  is driven home by  a reading of count  3 of the
          indictment, which  discusses in detail the  conspirators' actions
          to  hide the income that flowed their way, alleging, for example,
          that Morris  and Smith used marijuana-generated  cash to renovate
          and improve real property  (a specie of money laundering  that is
          not mentioned in count 1).
                In fairness,  we  also  note that  count  3  contains  some
          allegations tending to blur the distinction between the marijuana
          conspiracy  and the tax conspiracy.  Thus, Count 3 accuses Morris
          and  Smith   of  "earn[ing]  income   by  acquiring,   receiving,
          possessing,   storing,  repackaging,   transporting,  consigning,
          entrusting, and distributing  marijuana, and fail[ing]  to report
          such sums to the  Internal Revenue Service."  To  the extent that
          such evidence  is probative  of the appellants'  participation in
          the tax conspiracy,  the government is free to introduce  it in a
          subsequent trial,  despite the previous acquittal.   See Dowling,
                                                               ___ _______
          493 U.S. at 348  (declining to extend the doctrine  of collateral
          estoppel  to  require  exclusion  of  relevant  evidence  "simply
          because  it relates  to  alleged  criminal  conduct for  which  a
          defendant has been acquitted").  However, nothing in this opinion
          is  intended to  circumscribe  the  district  court's  discretion
          either in making  in limine orders  or in fashioning  appropriate
                            __ ______
          limiting  instructions regarding how (if at  all) evidence of the
          appellants' putative involvement in the marijuana conspiracy  may
          now be used.  See Dray, 901 F.2d at 1141.
                        ___ ____

                                          12














          acquittals, we  must reject  the appellants'  collateral estoppel

          claim.  See Dray, 901  F.2d at 1139 (explaining that there  is no
                  ___ ____

          collateral  estoppel if an inquiring court is "left with a choice

          among  a  variety  of plausible  theories"  as  to  why the  jury

          acquitted at an earlier trial).

                    To  put some meat on the bare bones of this conclusion,

          we sketch the  scenarios that  in our judgment  suffice to  leave

          open  the possibility that the appellants may yet be found guilty

          of  conspiracy to defraud the IRS without doing violence to their

          earlier  acquittals on  drug-related charges.   In the  course of

          this exercise, we treat Smith and Morris separately.

                    1.   Smith's Collateral  Estoppel Claim.   The district
                    1.   Smith's Collateral  Estoppel Claim.
                         __________________________________

          court properly instructed the jury that the government must prove

          "the specific offense charged in the indictment," and, thus, that

          Smith had  the specific  intent to  further  the distribution  or

          possession of marijuana.  The record leaves room for at least one

          substantial possibility consistent  with permitting  Smith to  be

          tried on the tax conspiracy charge.

                    The  proof showed  that Smith engaged  in a  variety of

          entrepreneurial ventures,  including  buying and  selling  coins,

          antiques, posters, prints, stamps, collectibles, and real estate.

          At trial, his  own counsel described him  as "a hustler."   Smith

          conducted his affairs largely  in cash and  kept no records.   Of

          particular pertinence for present purposes, he had close business

          connections with Gary Dethlefs, a central figure in the marijuana

          conspiracy.


                                          13














                    Both the evidence and the jury's verdict are consistent

          with a  finding that  Dethlefs made  enormous profits  buying and

          selling marijuana.  Smith worked as  the general manager of G &amp; A

          Development   Corporation,  a   construction  company   owned  by

          Dethlefs.   Smith had  direct responsibility for  the firm's land

          acquisitions.     He  also   teamed  with  Dethlefs   to  acquire

          restaurants,  and he joined Dethlefs  on at least  one sojourn to

          Los  Angeles  in  regard to  a  venture  in  the music  recording

          industry.

                    In   his   trial  testimony,   Smith  swore   that  his

          involvement with Dethlefs extended only to  legitimate businesses

          and   that  he   had  no   knowledge  that   Dethlefs'  seemingly

          inexhaustible  wealth  came  from  drugs.    He  stated  that  he

          solicited Dethlefs to back  his investments because Dethlefs "had

          money."    Given  the magnitude  of  Dethlefs'  drug  dealing and

          Smith's  close  ties  with him,  the  jury  certainly could  have

          believed that marijuana trafficking kept Dethlefs' coffers full  

          and that Smith knew as much.   The jury, however, also could have

          concluded  that Smith was not involved in trafficking per se, but

          simply helped  to launder  the proceeds of  Dethlefs' operation.5

          Such a conclusion would  be consistent with both an  acquittal on

          count 1 and a subsequent conviction on count 3.

                    Of course,  the record does not  conclusively establish
                              
          ____________________

               5Smith's track  record as a wheeler-dealer  tends to fortify
          such a conclusion;  the evidence  introduced at  the first  trial
          showed that he had an entrepreneurial background in  business and
          real estate  which included  other relevant experience  in hiding
          income from the government.

                                          14














          that Smith intended to defraud the United States, but that is not

          the issue today.  What matters now is that, giving full effect to

          the jury's  verdict, the record  does not foreclose  the scenario

          spelled out  above.   Moreover, though  the line for  determining

          whether theories explaining a jury's acquittal are too farfetched

          to  be given  weight  in  the  collateral  estoppel  calculus  is

          inherently tenebrous, that imprecision poses no problem where, as

          here, the  proffered  explanation  is  a  plausible  one.    Much

          evidence in the record is consistent with both the jury's verdict

          and the appellants' participation in a conspiracy to defraud  the

          IRS.  Smith's collateral estoppel claim therefore founders.

                    2.    Morris'  Collateral   Estoppel  Claim.    We  are
                    2.    Morris'  Collateral   Estoppel  Claim.
                          _____________________________________

          satisfied that Morris, too, failed to carry the burden of showing

          that his acquittal on the marijuana conspiracy charge necessarily

          decided  his  lack of  involvement in  the  tax conspiracy.   The

          record leaves open  the realistic possibility  of a jury  finding

          that he did not intend to distribute marijuana.

                    Morris  claims that  he  does construction  work for  a

          living.   He  frequently  works  "under  the table";  he  accepts

          payment in cash  for services  rendered and does  not report  the

          income.   One witness testified  that, between 1985  and 1992, he

          alone paid Morris $21,000 in cash for work done off the books.

                    William Hesketh  cooperated  with the  prosecution  and

          testified at the  first trial.   He admitted  dealing drugs  from

          1985 through 1988.  During that period he bought large quantities

          of marijuana (as much as 100 pounds at a time) from Dethlefs.  He


                                          15














          also testified that  he both  gave and sold  marijuana to  Morris

          (who worked for him  on virtually a full-time  basis in 1987  and

          1988).  Morris built  a chimney for Hesketh, remodeled  the upper

          story  of Hesketh's home, and constructed two buildings for D and

          S Moulding Company (a business that Hesketh controlled).  Hesketh

          always paid Morris in cash.  While the verdict indicates that the

          jurors turned down the  government's theory that Morris purchased

          marijuana from  Hesketh for  resale, they nonetheless  could have

          inferred knowledge on Morris' part that Hesketh's money came from

          marijuana sales.

                    Thus, if the jury thought  that Morris, though aware of

          the source of Hesketh's funds, had no stake in the success of the

          marijuana-purveying enterprise,  it would be obliged  to return a

          "not guilty"  verdict on count 1 of the indictment as drawn   but

          that verdict  would not  tell us  anything  of consequence  about

          Morris'  guilt or innocence vis- -vis the tax conspiracy.  In all

          events, this scenario is sufficient  (and sufficiently plausible)

          to  overcome  Morris'  argument  that  collateral   estoppel  now

          prevents his trial on a charge of conspiracy to defraud the IRS.6

                                         IV.
                                         IV.
                                         ___

                                      Conclusion
                                      Conclusion
                                      __________

                    We  need  go  no further.    For  the  reasons we  have

          discussed,  neither  double  jeopardy  nor   collateral  estoppel

                              
          ____________________

               6If more were needed   and  we do not think that it is    we
          note that  only count 3 (the tax  conspiracy charge), not count 1
          (the marijuana conspiracy charge), alleges that Morris  renovated
          and improved real and personal property with cash.

                                          16














          preclude  the  government  from  prosecuting  the  appellants  on

          charges  of  conspiracy  to  defraud the  United  States  in  the

          determination and collection of  income taxes.  Consequently, the

          district court did not err in refusing to dismiss count  3 of the

          indictment.



          Affirmed.
          ________








































                                          17









